           Case 1:19-cr-00064-GHW Document 93 Filed 01/07/21 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------- X
                                                               :
 UNITED STATES OF AMERICA,                                     :
                                                               :
                                                               :
                              -v-                              :
                                                               :              1:19-cr-064-GHW
                                                               :
 NATALIE SOURS EDWARDS,                                        :                  ORDER
                                                               :
                                               Defendant. :
 ------------------------------------------------------------- X

GREGORY H. WOODS, United States District Judge:

         In light of the Amended Standing Order entered by Chief Judge Colleen McMahon on

January 5, 2021 temporarily suspending certain operations in the Southern District of New York, the

Court will adjourn the proceeding scheduled in this matter on January 19, 2021. The parties are

directed to confer and to write the Court jointly suggesting one or more mutually agreeable

alternative dates for the proceeding.

         SO ORDERED.

Dated: January 6, 2021                                             __________________________________
                                                                           GREGORY H. WOODS
                                                                          United States District Judge
